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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         MATTRESS FIRM, INC., et al.,1                                Case No. 18-12241 (BLS)

                                   Debtors.                           (Joint Administration Requested)


                DEBTORS’ MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE FILING
                  UNDER SEAL OF THE FEE LETTER RELATING TO THE DIP FACILITIES

                   Mattress Firm, Inc. and its affiliated debtors and debtors in possession in the above-

         captioned chapter 11 cases (collectively, the “Debtors”) submit this motion (this “Motion”),

         pursuant to sections 105(a) and 107(b) of title 11 of the United States Code, 11 U.S.C. §§ 101–

         1532 (the “Bankruptcy Code”), rule 9018 of the Federal Rules of Bankruptcy Procedure (the

         “Bankruptcy Rules”), and rule 9018-1(b) of the Local Rules of Bankruptcy Practice and

         Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”), for entry of an order (the “Proposed Order”), substantially in the form attached hereto as

         Exhibit A, authorizing the Debtors to file under seal that certain DIP Financing Fee Letter (the

         “Fee Letter”) related to the Debtors’ Motion for Entry of Interim and Final Orders

         (I) Authorizing Debtors to (A) Obtain Postpetition Secured Financing Pursuant to Section 364 of

         Bankruptcy Code and (B) Utilize Cash Collateral; (II) Granting Liens and Superpriority

         Administrative Expense Claims; (III) Granting Adequate Protection; (IV) Modifying Automatic


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
         digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
         website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
         the Debtors.



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         Stay; (V) Scheduling Final Hearing; and (VI) Granting Related Relief (the “DIP Motion”),2 filed

         contemporaneously herewith.3              In support of this Motion, the Debtors respectfully state as

         follows:

                                      STATUS OF THE CASE AND JURISDICTION

                    1.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

         Court for the District of Delaware (the “Court”). Concurrently with the filing of this Motion, the

         Debtors have requested joint administration and procedural consolidation of these chapter 11

         cases pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses

         and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

         the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these

         cases, and no statutory committee has been appointed.

                    2.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

         U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to

         the entry of a final order or judgment by the Court in connection with this Motion if it is

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.

                    3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                    4.       The statutory and legal predicates for the relief sought herein are sections 105(a)


         2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the DIP
         Motion.
         3
             The Fee Letter is attached as Exhibit B to the DIP Motion.
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         and 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 9018-1(b).

                     THE DEBTORS’ PREPACKAGED PLAN OF REORGANIZATION

                5.      Concurrently with this Motion, the Debtors have filed a joint prepackaged chapter

         11 plan of reorganization (the “Plan”) and a related disclosure statement (the “Disclosure

         Statement”). The Debtors have also filed a motion to schedule a combined hearing for the Court

         to consider approval of the Disclosure Statement and confirmation of the Plan. All classes of

         claims against the Debtors are unimpaired under the Plan.

                                     BACKGROUND OF THE DEBTORS

                6.      Additional information regarding the Debtors’ business, capital structure and the

         circumstances preceding the Petition Date are set forth in the First Day Declaration.

                                             RELIEF REQUESTED

                7.      By this Motion, the Debtors seek entry of the Proposed Order, substantially in the

         form attached hereto as Exhibit A, authorizing the Debtors to file the Fee Letter under seal and

         directing that it remain under seal, confidential, and not be made available to anyone; provided,

         however, the Fee Letter shall be provided on a confidential basis to the Court and the Office of

         the United States Trustee for the District of Delaware (the “U.S. Trustee”).

                                               BASIS FOR RELIEF

                8.      Section 105(a) provides that “[t]he court may issue any order, process, or

         judgment that is necessary or appropriate to carry out the provisions of the Bankruptcy Code.”

         11 U.S.C. § 105(a). Section 107(b) provides bankruptcy courts with the authority to issue orders

         that will protect entities from potential harm that may result from the disclosure of certain

         confidential information. This section provides, in relevant part, as follows:

                        On request of a party in interest, the bankruptcy court shall, and on
                        the bankruptcy court’s own motion, the bankruptcy court may –
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                        protect an entity with respect to a trade secret or confidential
                        research, development, or commercial information . . . .

         11 U.S.C. § 107(b) (emphasis added). Importantly, once a court determines that a party in

         interest is seeking protection of information that falls within one of the categories enumerated in

         section 107(b), the court “is required to protect a requesting interested party and has no

         discretion to deny the application.” Video Software Dealers Ass’n v. Orion Pictures Corp. (In re

         Orion Pictures Corp.), 21 F.3d 24, 27 (2d Cir. 1994). Courts are required to provide such

         protections “generally where open inspection may be used as a vehicle for improper purposes.”

         Id. Further, commercial information need not rise to the level of a trade secret to be protected

         under section 107(b). In re Orion Pictures Corp., 21 F.3d at 28. A party seeking the sealing of

         information is required to show only that the information is confidential and commercial, and

         need not show “good cause.” Id.

                9.      Bankruptcy Rule 9018 sets forth the procedures by which a party may move for

         relief under section 107(b), and provides, in part, that “[o]n motion, or on its own initiative, with

         or without notice, the court may make any order which justice requires (1) to protect the estate or

         any entity in respect of a trade secret or other confidential research, development, or commercial

         information . . . .” Fed. R. Bankr. P. 9018. Local Rule 9018-1(b) additionally provides, in

         relevant part, that “[a]ny party who seeks to file documents under seal must file a motion to that

         effect.” Del. Bankr. L.R. 9018-1(b).

                10.     Pursuant to the DIP Motion, the Debtors are seeking authority to enter into the

         DIP Agreements and to borrow under the DIP Facilities. Pursuant to the Fee Letter, the Debtors

         must pay the DIP Agents an arrangement fee and certain administration fees as consideration for

         the DIP Agents’ assistance in organizing the lender commitments under the DIP Agreements.

         By its terms, the Fee Letter requires the Debtors to keep the description of fees contained therein

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         confidential.

                11.      The Debtors submit that the information contained in the Fee Letter falls well

         within the scope of confidential information that may be protected pursuant to section 107(b)(1).

         Specifically, the descriptions of fees set forth in the Fee Letter constitute proprietary information

         not typically disclosed to the public or to competing financial institutions. In light of the highly

         competitive nature of the investment banking and finance lending industries, it is of critical

         importance to the DIP Agents that the details of the fee structure set forth in the Fee Letter be

         kept confidential so that its competitors may not use the information contained therein to gain a

         strategic advantage over the lenders in the marketplace. Thus, in accordance with the terms of

         the Fee Letter, the Debtors respectfully request that the Court enter an order to prevent the

         contents of the Fee Letter from becoming publicly available.

                12.      “Commercial information is information which would give a competitor an unfair

         advantage.” In re Handy Andy Home Improvement Ctrs., Inc., 199 B.R. 376, 382 (Bankr. N.D.

         Ill. 1996). See also Diamond State Ins. Co. v. Rebel Oil Co., Inc., 157 F.R.D. 691, 697 (D. Nev.

         1994) (“Confidential commercial information is information which, if disclosed, would cause

         substantial economic harm to the competitive position of the entity from whom the information

         was obtained.”). Courts in this jurisdiction have previously determined that certain documents

         entered into in connection with post-petition and/or exit financing, such as fee or expense letters,

         qualify as “confidential commercial information” within the meaning of section 107(b) of the

         and have authorized the filing of such documents under seal. See, e.g., In re Southeastern

         Grocers, LLC, Case No. 18-10700 (MFW) (Bankr. D. Del. Apr. 9, 2018); In re Energy Future

         Holdings, Corp., Case No. 14-10979 (CSS) (Bank. D. Del. June 23, 2017); In re Tuscany Int’l

         Holdings (U.S.A.) Ltd., Case No. 14-10193 (Bankr. D. Del. Feb. 4, 2014); In re OnCure


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         Holdings, Inc., Case No. 13-11540 (Bankr. D. Del. June 18, 2013).

                13.       To ensure that the key constituencies in these cases receive adequate disclosure,

         the Debtors intend to provide the Fee Letter to the Court, the U.S. Trustee, any Committee

         appointed in these chapter 11 cases, and the Committee’s legal and financial advisors; provided,

         however, that the foregoing parties shall maintain the Fee Letter as strictly confidential. The

         Debtors submit that such disclosure will provide sufficient safeguards to ensure that the relief

         requested in this Motion will not adversely affect the interests of any parties in interest to these

         chapter 11 cases.

                                                      NOTICE

                14.       Notice of this Motion will be provided to (i) the U.S. Trustee; (ii) the holders of

         the thirty (30) largest unsecured claims against the Debtors on a consolidated basis; (iii) counsel

         to the DIP Agents; (iv) counsel to the Prepetition ABL Agent; (v) counsel to the Prepetition

         Term Loan Lender; (vi) counsel to Steinhoff International Holdings N.V ; (vii) counsel to the

         exit term loan financing backstop group (the “Backstop Group”); (viii) the United States

         Attorney’s Office for the District of Delaware; (ix) the Internal Revenue Service; (x) the United

         States Department of Justice; and (xi) any party that has requested notice pursuant to Bankruptcy

         Rule 2002. As this Motion is seeking “first day” relief, the Debtors will serve copies of this

         Motion and any order entered in respect of this Motion as required by Local Rule 9013-1(m).

         The Debtors submit that, in light of the nature of the relief requested, no other or further notice

         need be given.




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                WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

         substantially in the form attached hereto, granting the relief requested herein and any further

         relief the Court may deem just and proper.

         Dated: October 5, 2018              SIDLEY AUSTIN LLP
         Wilmington, Delaware                Bojan Guzina
                                             Matthew E. Linder
                                             Blair M. Warner
                                             One South Dearborn Street
                                             Chicago, Illinois 60603
                                             Telephone: (312) 853-7000
                                             Facsimile: (312) 853-7036

                                                      -and-

                                             SIDLEY AUSTIN LLP
                                             Gabriel R. MacConaill (No. 4734)
                                             Michael Fishel
                                             555 West Fifth Street, Suite 4000
                                             Los Angeles, California 90013
                                             Telephone: (213) 896-6000
                                             Facsimile: (213) 896-6600
                                                      -and-
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                             /s/ Ashley E. Jacobs
                                             Robert S. Brady (No. 2847)
                                             Edmon L. Morton (No. 3856)
                                             Ashley E. Jacobs (No. 5635)
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 571-6600
                                             Facsimile: (302) 571-1253

                                             PROPOSED ATTORNEYS FOR THE DEBTORS
                                             AND DEBTORS IN POSSESSION




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                                      Exhibit A

                                    Proposed Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (BLS)

                                     Debtors.                             (Jointly Administered)

                                                                          Ref. Docket No. __

                              ORDER AUTHORIZING THE FILING UNDER SEAL
                           OF THE FEE LETTER RELATING TO THE DIP FACILITIES

                    Upon the motion (“Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and debtors

         in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for entry of

         an order (this “Order”), authorizing the Debtors to file the Fee Letter under seal; and upon

         consideration of the First Day Declaration; and the Court being able to issue a final order

         consistent with Article III of the United States Constitution; and venue of this proceeding and the

         Motion being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and the

         opportunity for a hearing on the Motion having been given and it appearing that no other or

         further notice need be provided; and this Court having reviewed the Motion and having heard the

         statements in support of the relief requested therein at a hearing before this Court; and all

         objections, if any, to the Motion having been withdrawn, resolved or overruled; and the relief

         requested in the Motion being in the best interests of the Debtors’ estates, their creditors and


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
         2
             Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion.



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         other parties in interest; and this Court having determined that the legal and factual bases set

         forth in the Motion establish just cause for the relief granted herein; and after due deliberation

         and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                1.        The relief requested in the Motion is GRANTED as set forth herein.

                2.        The Debtors shall file the Fee Letter under seal and provide copies of the Fee

         Letter to the Court, the Clerk of the Court and the U.S. Trustee.

                3.        The Fee Letter shall be kept under seal and shall not be unsealed, disclosed, or

         further disseminated except upon further order of this Court.

                4.        Any party who receives the Fee Letter in accordance with this Order shall not

         disclose or otherwise disseminate such Fee Letter, or the information contained therein, to any

         other person or entity and shall keep the Fee Letter and the information contained therein strictly

         confidential.

                5.        The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry.

                6.        The Debtors are authorized and empowered to take all actions necessary to

         implement the relief granted in this Order.

                7.        This Court shall retain exclusive jurisdiction to hear and determine all matters

         arising from or related to the implementation of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE




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